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                                   4                                    UNITED STATES DISTRICT COURT

                                   5                                   NORTHERN DISTRICT OF CALIFORNIA

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                                   7     STEPHEN T PIERCE,                                   Case No. 22-cv-07444-JSW JSW
                                                         Plaintiffs,
                                   8
                                                                                             ORDER SETTING CASE
                                                  v.                                         MANAGEMENT CONFERENCE AND
                                   9
                                                                                             REQUIRING JOINT CASE
                                  10     SAMUEL BANKMAN-FRIED, et al.,                       MANAGEMENT CONFERENCE
                                                                                             STATEMENT
                                                         Defendants.
                                  11

                                  12
Northern District of California
 United States District Court




                                  13   TO ALL PARTIES AND COUNSEL OF RECORD:

                                  14          The above matter having been assigned to the Honorable Jeffrey S. White, it is hereby

                                  15   ordered that, pursuant to Fed. R. Civ. P. 16(b) and Civil L. R. 16-10, a Case Management

                                  16   Conference shall be held in this case on February 24, 2023, at 11:00 A.M., via Zoom Webinar

                                  17   (webinar instructions may be found at: https://www.cand.uscourts.gov/jsw) or, if permitted,

                                  18   in Courtroom 5, 2nd Floor, Federal Courthouse, 1301 Clay Street, Oakland, California.

                                  19          Plaintiff(s) shall serve copies of this Order immediately on all parties to this action, and on

                                  20   any parties subsequently joined, in accordance with Fed. R. Civ. P. 4 and 5. Following service,

                                  21   plaintiff(s) shall file with the Clerk of the Court a certificate reflecting such service, in accordance

                                  22   with Civil L. R. 5-5(a).

                                  23          The parties shall file a joint case management statement no later than five (5) court days

                                  24   prior to the conference. The joint case management statement shall address all of the topics set

                                  25   forth in the Standing Order for All Judges of the Northern District of California - Contents of Joint

                                  26   Case Management Statement, which can be found on the Court’s website located at

                                  27   http://www.cand.uscourts.gov. See N.D. Civ L.R. 16-9. If any one or more of the parties is

                                  28   proceeding without counsel, the parties may file separate case management statements. Separate
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                                   1   statements may also address all of the topics set forth in the Standing Order referenced above.

                                   2          The parties shall appear in person through counsel with full and complete authority: (1) to

                                   3   address all issues presented in their joint case management conference statement; and (2) to enter

                                   4   stipulations, make admissions, and agree to further scheduling dates. The parties shall identify the

                                   5   person who shall appear at the case management conference in the case management conference

                                   6   statement.

                                   7          Any request to reschedule the date of the conference shall be made in writing, and by

                                   8   stipulation if possible, at least ten (10) calendar days before the date of the conference and must

                                   9   be based upon good cause. In order to assist the Court in evaluating any need for disqualification

                                  10   or recusal, the parties shall disclose to the Court the identities of any person, associations, firms,

                                  11   partnerships, corporations or other entities known by the parties to have either (1) financial interest

                                  12   in the subject matter at issue or in a party to the proceeding; or (2) any other kind of interest that
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                                  13   could be substantially affected by the outcome of the proceeding. If disclosure of non-party

                                  14   interested entities or persons has already been made as required by Civil L. R. 3-16, the parties

                                  15   may simply reference the pleading or document in which the disclosure was made. In this regard,

                                  16   counsel are referred to the Court's Recusal Order posted on the Court website at the Judges

                                  17   Information link at http://www.cand.uscourts.gov.

                                  18          IT IS SO ORDERED.

                                  19   Dated: November 23, 2022

                                  20                                                     ______________________________________
                                                                                         JEFFREY S. WHITE
                                  21                                                     United States District Judge
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